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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )          8:05CR138
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
GUSTAVO AMBRIZ-SALDANA                             )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion to continue by defendant Gustavo Ambriz-
Saldana (Ambriz-Saldana) (Filing No. 60). Ambriz-Saldana seeks a continuance of the trial
of this matter for sixty days. Ambriz-Saldana has submitted an affidavit in accordance with
paragraph 9 of the progression order whereby Ambriz-Saldana consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act (Filing No. 60). Upon consideration, the motion will be granted.
       IT IS ORDERED:
       1.     Ambriz-Saldana’s motion to continue trial (Filing No. 60) is granted.
       2.     Trial of this matter is re-scheduled for January 9, 2006, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between October 27, 2005
and January 9, 2006, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason that defendant's counsel requires
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 27th day of October, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
